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                                                                               of 6 Exhibit H
                                                                                       Page 1 of 6
          Oscoda                    Alcona
                                                       5th Congressional District
                                                       2001 Redistricting Plan
                                                            Buena Vista Charter Township
                                    Iosco                   highlighted in Saginaw County
          Ogemaw




Gladwin
                     Arenac
                                                                                                     ¹
                                                                  Huron




               Bay

 Midland




                                             Tuscola
                                                                             Sanilac



              Saginaw




                                                        Lapeer

                                  Genesee
                                                                                    St. Clair
      Shiawassee
Clinton


                                              Oakland                      Macomb

                     Livingston                             0    4.5   9       18         27         36
  Ingham
                                                                                                       Miles
             Case 1:11-cv-01938-RJL-BMK-CKK Document 7-5 Filed 12/02/11 Page 2Revised
                                                                               of 6 Exhibit H
                                                                                       Page 2 of 6
          Oscoda                    Alcona
                                                       5th Congressional District
                                                       2011 Redistricting Plan
                                                            Buena Vista Charter Township
                                    Iosco                   highlighted in Saginaw County
          Ogemaw




Gladwin
                     Arenac
                                                                                                     ¹
                                                                  Huron




               Bay

 Midland




                                             Tuscola
                                                                             Sanilac



              Saginaw




                                                        Lapeer

                                  Genesee
                                                                                    St. Clair
      Shiawassee
Clinton


                                              Oakland                      Macomb

                     Livingston                             0    4.5   9       18         27         36
  Ingham
                                                                                                       Miles
Case 1:11-cv-01938-RJL-BMK-CKK Document 7-5 Filed 12/02/11 Page 3Revised
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                                                                         Page 3 of 6

                                       6th Congressional District
                                Ottawa
                                       2001 Redistricting Plan
                                                  Clyde Township highlighted
                                                      in Allegan County




                                        Allegan                            Barry
                                                                                       ¹

                               Van Buren                    Kalamazoo              Calhoun




          Berrien
                                 Cass                       St. Joseph             Branch




                                              0     4   8       16          24         32
                                                                                         Miles
Case 1:11-cv-01938-RJL-BMK-CKK Document 7-5 Filed 12/02/11 Page 4Revised
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                                                                         Page 4 of 6

                                       6th Congressional District
                                Ottawa
                                       2011 Redistricting Plan
                                                  Clyde Township highlighted
                                                      in Allegan County




                                        Allegan                            Barry
                                                                                       ¹

                               Van Buren                    Kalamazoo              Calhoun




          Berrien
                                 Cass                       St. Joseph             Branch




                                              0     4   8       16          24         32
                                                                                         Miles
                                                                        Case 1:11-cv-01938-RJL-BMK-CKK Document 7-5 Filed 12/02/11 Page 5Revised
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                             MICHIGAN'S 15 CONGRESSIONAL DISTRICTS
                                                                                                                                                                                                                                                                                                                    2001 Redistricting Plan
                                                                                                                                                                              Houghton
                                                                                                                                                                                Twp

                                                                                                                                                      Keweenaw
                                                                                                                                     Eagle Harbor
                                                                                                                                         Twp

                                                                                                                                                                                                                                                                                                                                                                                                                                            GEOGRAPHY
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                                                                                                                                                                                           Hancock     Osceola
                                                                                                                                                                                                                     Schoolcraft
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                                                                                                                                                                                                                        Twp

                                                                                                                                                                                           Quincy Franklin
                                                                                                                                                                                            Twp Twp
                                                                                                                                                                                            Hancock

                                                                                                                                                                  Stanton                                        Torch Lake
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                                                                                                                                                                             Adams
                                                                                                                                                                              Twp




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                                                                                                                                                                              Portage
                                                                                                                                                                               Twp



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                                                                                                                         Greenland                      Twp
                                                                                             Ontonagon                                                                                                                                             Arvon
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                                                        Carp Lake
                                                          Twp                                                                                                                             Baraga
                                                                                                                                                                                           Twp
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                                                                                                   Rockland                                  Twp                  Laird
                                                                                                     Twp                                                          Twp                                                     Lanse
                                                                            Ontonagon                                                                                                                                      Twp

                                                          Bergland               Matchwood

       Ironwood
                                                            Twp                     Twp                            Stannard
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                  Bessemer                                                                                                                          Duncan                                                                                                                                                                                Marquette
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                   Erwin
                   Twp
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                                                                                                                        Produced by
                                                                                                             Center for Geographic Information
                                                                                                           Department of Information Technology
                                                                                                                      September 2002



                                                                                 SOURCE: Base map from the Michigan Geographic Framework,
                                                                                         Legislative District boundaries from 2001 Apportionment Plan.
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                                                                                     2011 Redistricting Plan
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                                                                                                                                                                                                                                                    Congress
                                                      Keweenaw




                                  Houghton




                      Ontonagon              Baraga


            Gogebic                                                     Marquette                                                                                   Luce
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                                                                                                                             Van Buren                                                 Calhoun                                                                            12
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